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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

KARLA K. WILSON,                           )
                                           )
              Plaintiff                    )
                                           )       2:17-cv-00409-GZS
v.                                         )
                                           )
DR. CLINTON, et.al,                        )
                                           )
              Defendants                   )

        RECOMMENDED DECISION AFTER SCREENING COMPLAINT
               PURSUANT TO 28 U.S.C. §§ 1915(e), 1915A

       In this action, Plaintiff Karla K. Wilson, an inmate in the custody of the Maine

Department of Corrections, alleges that Defendants Dr. Clinton and Wendi Reibe have

deprived Plaintiff of medical care in violation of the Eighth Amendment of the United

States Constitution. (Complaint, ECF No. 1.)

       Plaintiff filed an application to proceed in forma pauperis (ECF No. 4), which

application the Court granted. (ECF No. 5.)        In accordance with the in forma pauperis

statute, a preliminary review of Plaintiff’s complaint is appropriate.          28 U.S.C. §

1915(e)(2). Additionally, Plaintiff’s complaint is subject to screening “before docketing,

if feasible or … as soon as practicable after docketing,” because she is “a prisoner seek[ing]

redress from a governmental entity or officer or employee of a governmental entity.” 28

U.S.C. § 1915A(a).

       Following a review of Plaintiff’s complaint, I recommend the Court dismiss

Plaintiff’s claim of negligence, and permit Plaintiff to proceed on her constitutional claim.



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                                  STANDARD OF REVIEW

       The federal in forma pauperis statute, 28 U.S.C. § 1915, is designed to ensure

meaningful access to the federal courts for those persons unable to pay the costs of bringing

an action. When a party is proceeding in forma pauperis, however, “the court shall dismiss

the case at any time if the court determines,” inter alia, that the action is “frivolous or

malicious” or “fails to state a claim on which relief may be granted.” 28 U.S.C. §

1915(e)(2)(B). “Dismissals [under § 1915] are often made sua sponte prior to the issuance

of process, so as to spare prospective defendants the inconvenience and expense of

answering such complaints.” Neitzke v. Williams, 490 U.S. 319, 324 (1989).

       In addition to the review contemplated by § 1915, Plaintiff’s complaint is subject to

screening under the Prison Litigation Reform Act because Plaintiff currently is incarcerated

and seeks redress from governmental entities and officers. See 28 U.S.C. § 1915A(a), (c).

The § 1915A screening requires courts to “identify cognizable claims or dismiss the

complaint, or any portion of the complaint, if the complaint (1) is frivolous, malicious, or

fails to state a claim.” 28 U.S.C. § 1915A(b).

       When considering whether a complaint states a claim for which relief may be

granted, courts must assume the truth of all well-plead facts and give the plaintiff the

benefit of all reasonable inferences therefrom. Ocasio-Hernandez v. Fortuno-Burset, 640

F.3d 1, 12 (1st Cir. 2011). A complaint fails to state a claim upon which relief can be

granted if it does not plead “enough facts to state a claim to relief that is plausible on its

face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).



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        Although a pro se plaintiff’s complaint is subject to “less stringent standards than

formal pleadings drafted by lawyers,” Haines v. Kerner, 404 U.S. 519, 520 (1972), this is

“not to say that pro se plaintiffs are not required to plead basic facts sufficient to state a

claim,” Ferranti v. Moran, 618 F.2d 888, 890 (1st Cir. 1980). To allege a civil action in

federal court, it is not enough for a plaintiff merely to allege that a defendant acted

unlawfully; a plaintiff must affirmatively allege facts that identify the manner by which the

defendant subjected the plaintiff to a harm for which the law affords a remedy. Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009).

                                       FACTUAL BACKGROUND

        Plaintiff alleges that Defendants Dr. Clinton and Wendy Reibe have subjected

Plaintiff to cruel and unusual punishment and “neglect.” (Complaint at 3.) According to

Plaintiff, she has Meniere’s disease, a condition that affects her inner ear and causes vertigo

and hearing loss.        Plaintiff asserts that certain health care providers at the Maine

Correctional Center have supported Plaintiff’s request for an outside consultation with an

ear, nose and throat specialist, but Dr. Clinton has denied the referral and instead adjusted

Plaintiff’s medication.1 (Id. at 4 – 5.) Plaintiff alleges she is losing peripheral vision in

her right eye and has experienced hearing loss. (Id. at 4.) Plaintiff also has a dental issue

(need for a filling in one tooth and for other teeth to be “fixed”) and has spoken to Dr.

Clinton and Wendy Reibe about both issues. (Id. at 5, 7.) Plaintiff maintains that her

medications are not addressing her conditions. (Id. at 4.)


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 Plaintiff elsewhere alleged that “due to a lack of vision in [her] left eye,” she “was sent out to an outside
doctor.” (Complaint at 7, 8.)

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       In the form complaint filed by Plaintiff, Plaintiff references a grievance process at

the Maine Correctional Center that covers some or all of her claims. (Id. at 6.) Plaintiff

further wrote that the “grievance process was done [and] I didn’t appeal because I spoke to

Wendy Reibe about my dental situation,” and “I did not appeal Dr. Clinton because I did

get slight advocation [sic] by the nurses but I should appeal [b]ut I get frustrating non-

answers.” (Id. at 8.)

                                         DISCUSSION

A.     Plaintiff’s Constitutional Claim

        Plaintiff arguably has stated a claim under 42 U.S.C. § 1983 for “deliberate

indifference” to a serious medical need. Federal law, however, requires a prisoner to

exhaust the available administrative remedies before initiating a lawsuit based on 42 U.S.C.

§ 1983. Specifically, “[n]o action shall be brought with respect to prison conditions under

section 1983 of this title, or any other Federal law, by a prisoner confined in any jail, prison,

or other correctional facility until such administrative remedies as are available are

exhausted.” 42 U.S.C. § 1997e(a); see also Jones v. Bock, 549 U.S. 199, 211 (2007)

(“There is no question that exhaustion is mandatory under the PLRA [Prison Litigation

Reform Act] and that unexhausted claims cannot be brought in court.”)                   “‘Prison

conditions’ under [the PLRA] include individual instances of medical mis-or non-

treatment.” Acosta v. United States Marshals Service, 445 F.2d 509, 512 (1st Cir. 2006).

       The Supreme Court has held that § 1997e(a) requires “proper exhaustion” of a

prisoner’s administrative remedies. Woodford v. Ngo, 548 U.S. 81, 93 (2006). “Proper

exhaustion demands compliance with an agency’s deadlines and other critical procedural

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rules because no adjudicative system can function effectively without imposing some

orderly structure on the course of its proceedings.”     Id. at 90 – 91. “Compliance with

prison grievance procedures … is all that is required … to ‘properly exhaust.’” Jones, 549

U.S. at 218. “[I]t is the prison’s requirements, and not the PLRA, that define the boundaries

of proper exhaustion.” Id. Ordinarily, failure to exhaust is treated as an affirmative defense

and dismissal at the pleading stage is not warranted. However, “[a] court may sua sponte

dismiss a complaint when the alleged facts in the complaint, taken as true, prove that the

inmate failed to exhaust his administrative remedies.” Custis v. Davis, 851 F.3d 358, 361

(4th Cir. 2017) (vacating sua sponte dismissal where the prisoner plaintiff alleged that he

attempted to exhaust, and appealed the dismissal of his grievance to the highest level,

which allegations permitted an inference that he exhaust administrative remedies); Torns

v. Mississippi Dep’t of Corr., 301 F. App’x 386, 388 – 89 (5th Cir. 2008) (“One way in

which a complaint may show the inmate is not entitled to relief is if it alleges facts that

clearly foreclose exhaustion. In such a case, the district court may sua sponte dismiss the

complaint for failure to state a claim.”) (vacating sua sponte dismissal where the allegations

did not mention the administrative process and simply stated administrators did not

respond); Cullinan v. Mental Health Mgmt. Corr. Servs., Inc., No. 11-cv-10593, 2012 WL

2178927, at *3 (D. Mass. June 11, 2012).

       The Tenth Circuit and the Fourth Circuit have observed that when a prisoner’s

complaint clearly reflects that the prisoner did not exhaust administrative remedies, the

district court should inquire further of the prisoner before screening the complaint based

on non-exhaustion under 28 U.S.C. §§ 1915 and 1915A. Aquilar-Avellaveda v. Terrell,

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478 F.3d 1223, 1225 (10th Cir. 2007) (suggesting that a district court may request

additional information from prisoner where the face of the complaint clearly reflects non-

exhaustion, noting that “facts ordinarily pled in allegations concerning prison conditions

frequently will not give a definitive answer as to whether a prisoner has completed his

internal grievance process or whether he was thwarted in his attempts to do so”); Anderson

v. XYZ Corr. Health Servs., Inc., 407 F.3d 674, 682 (4th Cir. 2005) (“[W]e conclude that a

district court may raise the issue of exhaustion of remedies on its own motion. Except in

the rare case where failure to exhaust is apparent from the face of the complaint, however,

a district court cannot dismiss the complaint without first giving the inmate an opportunity

to address the issue.”).2

        Here, although Plaintiff has asserted facts which suggest she might not have

exhausted all of the available administrative remedies, because she also asserted that she

has received “non-answers” to grievances, the Plaintiff’s failure to exhaust the available

administrative remedies is not clearly apparent on Plaintiff’s complaint. In Ross v. Blake,

136 S. Ct. 1850, 1856 – 57 (2016), the Supreme Court, while confirming that the

exhaustion of available administrative remedies is mandatory, noted there are some

“circumstances in which an administrative remedy, although officially on the books, is not

capable of use to obtain relief.” Id. at 1859. While Plaintiff has alleged facts that generate

an issue regarding exhaustion, she has also alleged facts that raise a question regarding the


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 The Fourth Circuit has clarified that requiring further information of the prisoner is only appropriate where
the complaint clearly reflects the failure to exhaust. Custis v. Davis, 851 F.3d 358, 363 (4th Cir. 2017).
The Ninth Circuit appears to hold that even where the failure to exhaust is clear on the face of the complaint,
the issue should be addressed in the context of a motion to dismiss. Albino v. Baca, 747 F.3d 1162, 1166
(9th Cir. 2014).

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availability of the administrative proceedings. Given that administrative exhaustion is an

affirmative defense and thus a plaintiff is not required to plead exhaustion, Jones v. Bock,

549 U.S. 199, 216 (2007), dismissal under 28 U.S.C. §§ 1915 and 1915A is not appropriate.

See also Ramos v. Patnaude, 640 F.3d 485, 488 (1st Cir. 2011) (“The Supreme Court made

it plain … that exhaustion under § 1997e(a) is not a jurisdictional condition, and has held

it to be an affirmative defense.” (citing Jones, 549 U.S. at 212)).

B.     Plaintiff’s Claim of “Neglect”

       Plaintiff appears to assert a claim of “neglect,” which claim the Court could construe

as a state law claim of professional negligence/medical malpractice. If Plaintiff intended

to assert such a claim, however, Plaintiff cannot proceed on the claim in this Court on the

current record. Under Maine law, to proceed on a medical negligence case, Plaintiff must

first complete the prelitigation screening process mandated by the Maine Health Security

Act. 24 M.R.S. §§ 2853 et seq. See Henderson v. Laser Spine Inst., 815 F. Supp. 2d 353,

381 (D. Me. 2011). Plaintiff has alleged no facts to suggest, and the record does not

otherwise reflect, that Plaintiff has satisfied the prerequisites to a state law medical

malpractice action.

                                       CONCLUSION

       Based on the foregoing analysis, pursuant to 28 U.S.C. § 1915(e)(2) and 29 U.S.C.

§ 1915A(a), I recommend the Court dismiss Plaintiff’s claim of negligence, and permit

Plaintiff to proceed on her constitutional claim.




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                                       NOTICE

           A party may file objections to those specified portions of a magistrate
    judge's report or proposed findings or recommended decisions entered
    pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
    court is sought, together with a supporting memorandum, within fourteen
    (14) days of being served with a copy thereof.

           Failure to file a timely objection shall constitute a waiver of the right
    to de novo review by the district court and to appeal the district court's order.

                                        /s/ John C. Nivison
                                        U.S. Magistrate Judge

    Dated this 10th day of January, 2018.




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